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 8                IN THE UNITED STATES DISTRICT COURT FOR THE

 9                       EASTERN DISTRICT OF CALIFORNIA

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12   UNITED STATES OF AMERICA,      )         CR. NO. S-03-391 DFL
                                    )
13                  Plaintiff,      )
                                    )         STIPULATION; ORDER
14                                  )
     EFAME CRUMBY,                  )
15                                  )
                    Defendants.     )
16   _______________________________)

17         Defendant Efame Crumby, through Collin L. Cooper, Attorney At

18   Law, and the United States of America, through Assistant U.S.

19   Attorney Kenneth J. Melikian, agree that the status conference

20   scheduled for May 5, 2005, be vacated.        The parties further

21   stipulate that a status conference be placed on the court’s June

22   30, 2005, calendar.

23         The parties are still involved in efforts to negotiate a

24   disposition in this case.     These efforts have been hampered by

25   factors beyond the parties' control. The parties are requesting a

26   final continuance so that it can be determined whether the case

27   will be settled, or whether it will proceed to trial.

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 1        For these reasons, the parties request that a status

 2   conference in this case be scheduled for June 30, 2005.           The

 3   parties further agree that time should be excluded through June

 4   30, 2005, from computation under the Speedy Trial Act pursuant to

 5   local code T4 (18 U.S.C. § 3161(h)(8)(B)(iv)) in order to allow

 6   defense counsel to prepare his case.

 7   DATED: April 29, 2005               Very truly yours,

 8                                       McGREGOR W. SCOTT
                                         United States Attorney
 9
                                         /s/ Kenneth J. Melikian
10
                                         By
11                                         KENNETH J. MELIKIAN
                                         Assistant U.S. Attorney
12

13
     DATED: April 29, 2005               /s/ Kenneth J. Melikian
14                                       COLLIN L. COOPER
                                         Attorney for Defendant
15                                       (Signed by Kenneth J. Melikian
                                          per authorization by Collin L.
16                                        Cooper)

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18
          IT IS SO ORDERED.
19

20
     DATED: 4/29/2005
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23
                                              DAVID F. LEVI
24                                            United States District Judge
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